: Case 2:22-cr-00002-NJB-JVM «Document 1 Filed 01/07/22 Page 1 of 6 ° ,

 

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

INDICTMENT FOR WILLFULLY
FILING FALSE TAX RETURNS

 

UNITED STATES OF AMERICA * CRIMINAL NO. 2,23 Q “
v. * SECTION: SE CT G N A G 1
: 6 e
ERNESTINE ANDERSON-TRAHAN * VIOLATION: 26 U.S.C. § 7206(1)
* * *

The Grand Jury charges that:
GENERAL ALLEGATIONS

At times relevant to this Indictment:

1. Defendant ERNESTINE ANDERSON-TRAHAN (“TRAHAN”) was a resident
of New Orleans, Louisiana, in the Eastern District of Louisiana.

2. Beginning in or around January 2013, and continuing through at least January
2022, TRAHAN was employed as a judge with the Second City Court in the Parish of Orleans,
in the Eastern District of Louisiana. TRAHAN earned annual wages from the Supreme Court of
Louisiana and the Judicial Expense Fund. In addition to these wages, TRAHAN received gross
receipts from officiating marriage ceremonies.

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Case 2:22-cr-00002-NJB-JVM «Document 1 Filed 01/07/22 Page 2 of 6

3. From 2013 to at least 2016, TRAHAN officiated hundreds of marriage
ceremonies each year. In addition to a standard marriage license fee payable to the Court,
TRAHAN charged between approximately $80 to $100 in officiant fees, payable to her in cash,
for marriages she officiated during regular business hours at the courthouse. TRAHAN charged
higher officiant fees for marriages she officiated on Valentine’s Day, outside the courthouse, or
outside normal business hours.

4. In 2013 and 2014, in addition to the income TRAHAN received from her
employment as a judge and from officiating marriage ceremonies, TRAHAN received gross
receipts from legal fees, including referral fees and fee-sharing agreements for legal work that
she performed unrelated to her judicial income.

5. The Internal Revenue Service (“IRS”) was an agency of the U.S. Department of
the Treasury responsible for administering the tax laws of the United States and collecting taxes
owed to the United States.

COUNT 1

6. The Grand Jury incorporates by reference herein all the information contained in
Paragraphs 1 through 5 of the General Allegations as if fully set forth herein, and further alleges
that:

7. On or about March 20, 2017, in the Eastern District of Louisiana, and elsewhere,
the defendant,

ERNESTINE ANDERSON-TRAHAN,
willfully made and subscribed a joint U.S. Individual Income Tax Return, IRS Form 1040, which
was filed with the IRS, for the calendar year 2013, which was verified by written declaration that

it was made under the penalties of perjury and which TRAHAN did not believe to be true and
Case 2:22-cr-00002-NJB-JVM ‘Document 1 Filed 01/07/22 Page 3 of 6

correct as to every material matter in that the return failed to disclose gross receipts from legal fees
and did not accurately report gross receipts from officiating weddings. The tax return reported,
among other false items, (1) false business income (Line 12) of $24,518; (2) false total income
(Line 22) of $160,731; and (3) false gross receipts of $16,000 (Schedule C, Line 1), whereas
TRAHAN then and there knew she had unreported gross receipts from legal fees and substantially
more gross receipts from officiating weddings than she stated for the 2013 calendar year.

All in violation of Title 26, United States Code, Section 7206(1).

COUNT 2

8. The Grand Jury incorporates by reference herein all the information contained in
Paragraphs 1 through 5 of the General Allegations as if fully set forth herein, and further alleges
that:

9. On or about July 2, 2015, in the Eastern District of Louisiana, and elsewhere, the
defendant,

ERNESTINE ANDERSON-TRAHAN,

willfully made and subscribed a joint U.S. Individual Income Tax Return, IRS Form 1040, which
was filed with the IRS, for the calendar year 2014, which was verified by written declaration that
it was made under the penalties of perjury and which TRAHAN did not believe to be true and
correct as to every material matter in that the return failed to disclose gross receipts from legal fees
and did not accurately report gross receipts from officiating weddings. The tax return reported,
among other false items, (1) false business income (Line 12) of $7,709; (2) false total income (Line
22) of $145,286; and (3) false gross receipts of $16,000 (Schedule C, Line 1), whereas TRAHAN
then and there knew she had unreported gross receipts from legal fees and substantially more gross

receipts from officiating weddings than she stated for the 2014 calendar year.
Case 2:22-cr-00002-NJB-JVM ‘Document 1 Filed 01/07/22 Page 4 of 6

All in violation of Title 26, United States Code, Section 7206(1).
COUNT 3

10. The Grand Jury incorporates by reference herein all the information contained in
Paragraphs | through 3 and 5 of the General Allegations as if fully set forth herein, and further
alleges that:

11. On or about October 17, 2016, in the Eastern District of Louisiana, and elsewhere,
the defendant,

ERNESTINE ANDERSON-TRAHAN,

willfully made and subscribed a joint U.S. Individual Income Tax Returns, IRS Form 1040, which
was filed with the IRS, for the calendar year 2015, which was verified by written declaration that
it was made under the penalties of perjury and which TRAHAN did not believe to be true and
correct as to every material matter in that the return did not accurately report gross receipts from
officiating weddings. The tax return reported, among other false items, (1) false business income
(Line 12) of $11,207; (2) false total income (Line 22) of $136,322; and (3) false gross receipts of
$16,000 (Schedule C, Line 1), whereas TRAHAN then and there knew she had substantially more
gross receipts from officiating weddings than she stated for the 2015 calendar year.

All in violation of Title 26, United States Code, Section 7206(1).

COUNT 4

12. | The Grand Jury incorporates by reference herein all the information contained in
Paragraphs | through 3 and 5 of the General Allegations as if fully set forth herein, and further
alleges that:

13. On or about November 18, 2017, in the Eastern District of Louisiana, and

elsewhere, the defendant,
Case 2:22-cr-00002-NJB-JVM ‘Document 1 Filed 01/07/22 Page 5 of 6

ERNESTINE ANDERSON-TRAHAN,

willfully made and subscribed a joint U.S. Individual Income Tax Returns, IRS Form 1040, which
was filed with the IRS, for the calendar year 2016, which was verified by written declaration that
it was made under the penalties of perjury and which TRAHAN did not believe to be true and
correct as to every material matter in that the return did not accurately report gross receipts from
officiating weddings. The tax return reported, among other false items, (1) false business income
(Line 12) of $4,533; (2) false total income (Line 22) of $156,301; and (3) false gross receipts of
$15,200 (Schedule C, Line 1), whereas TRAHAN then and there knew she had substantially more
gross receipts from officiating weddings than she stated for the 2016 calendar year.

All in violation of Title 26, United States Code, Section 7206(1).

 

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New Orleans, Louisiana
January 7, 2022
Case 2:22-cr-00002-NJB-JVM Document1 Filed 01/07/22 Page 6 of 6

 

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